     Case 1:05-cr-00008-JPJ-PMS     Document 115      Filed 01/07/07   Page 1 of 13
                                    Pageid#: 324



                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                         ABINGDON DIVISION


UNITED STATES OF AMERICA                       )
                                               )
                                               )   Case No. 1:05CR00008
                                               )
v.                                             )   OPINION AND ORDER
                                               )
BARRY AYALA,                                   )   By: James P. Jones
                                               )   Chief United States District Judge
             Defendant.                        )

      Zachary T. Lee, Special Assistant United States Attorney, Abingdon, Virginia,
for United States; Nancy C. Dickenson, Assistant Federal Public Defender, Abingdon,
Virginia, for Defendant.

       The question presented in this criminal case is whether the defendant is entitled

to a new trial because of the admission, over the defendant’s objection, of

incriminating statements made by a co-conspirator to an undercover law enforcement

officer. I hold that the out-of-court statements were not testimonial and their

admission did not violate the defendant’s Confrontation Clause rights or the Federal

Rules of Evidence.



                                           I

       The defendant, Barry Ayala, was convicted by a jury of conspiring to distribute

cocaine base, 21 U.S.C.A. §§ 846, 841(a)(1) (West 1999), and possession with intent
   Case 1:05-cr-00008-JPJ-PMS          Document 115       Filed 01/07/07     Page 2 of 13
                                       Pageid#: 325



to distribute cocaine base, 21 U.S.C.A. § 841(a)(1). He has filed a Motion for New

Trial, complaining of the introduction of certain testimony by a federal law

enforcement agent reciting incriminating out-of-court statements made by Edward

Pope, a co-defendant who earlier pleaded guilty and did not testify at trial. The

motion has been briefed and is ripe for decision.1

       As shown by the evidence at trial, the defendant, along with co-defendant Pope,

were arrested at a fast food restaurant in Bristol, Virginia, during an undercover drug

operation. The operation was orchestrated by Stephen Poindexter, a confidential

informant, who had been arrested earlier that day for drug possession. In order to gain

favor with the authorities, Poindexter volunteered to work in an undercover capacity

to secure additional arrests in the Bristol area. Poindexter believed that he could

arrange a purchase of two eight balls2 of crack cocaine (cocaine base). Poindexter

placed a cell phone call to Pope, known by him from previous drug transactions, and

told Pope that he knew of a customer who was looking to buy two eight balls of crack

cocaine that night. Pope agreed to locate the drugs from another source and then

called Poindexter back to discuss final arrangements for the buy. During this

       1
          I will dispense with oral argument because the facts and legal contentions are
adequately presented in the materials before the court and argument would not significantly
aid the decisional process.
       2
         An “eight ball” is a street term denoting a quantity of cocaine or other illicit drugs
that weights an eighth of an ounce or 3.5 grams.

                                              -2-
   Case 1:05-cr-00008-JPJ-PMS      Document 115      Filed 01/07/07   Page 3 of 13
                                   Pageid#: 326



conversation, Poindexter handed the cell phone to federal drug agent Brian Snedeker

under the guise that he was the customer seeking to purchase the crack cocaine.

      Agent Snedeker testified at trial that he had then negotiated the terms of the

drug purchase with Pope. Pope informed Snedeker that “his guy”would supply the

drugs, but that he only had one eight ball of crack cocaine available. However, if he

purchased the first eight ball, he and “his guy” would locate a second eight ball for

purchase at a later time.

      Pope and Snedeker agreed to meet at the fast food restaurant. When Snedeker

and Poindexter arrived at the restaurant’s parking lot, police converged on Pope’s car

and ordered everyone inside to place their hands in the air. Pope was in the driver’s

seat, a woman was in the front passenger seat, and the defendant was located in the

back seat.

      According to testimony from Snedeker and an arresting officer, Pope and the

woman immediately raised their hands in response to the order from the police.

However, the defendant did not. When authorities approached the vehicle, the

defendant leaned towards the floorboard and his hands and head were not initially

visible. After he was removed from the vehicle, a search of the interior near where

the defendant had been sitting revealed a plastic sandwich bag containing 1.8 grams

of crack cocaine.


                                         -3-
   Case 1:05-cr-00008-JPJ-PMS      Document 115      Filed 01/07/07   Page 4 of 13
                                   Pageid#: 327



      In a pretrial Motion in Limine, the defendant sought a ruling prohibiting the

government from introducing the statements made by Pope to Agent Snedeker as

inadmissible hearsay, which motion was denied.

      At trial, Agent Snedeker testified about his conversation with Pope, and Pope’s

statement that “his guy” would be supplying one eight ball of crack cocaine that

evening and would supply an additional eight ball at some point in the future. Pope

did not testify. During closing arguments, the government contended that Pope’s

statements about “his guy”supplying drugs were references to the defendant.



                                          II

      The defendant challenges the admission of Pope’s out-of-court statements under

the Confrontation Clause of the Sixth Amendment. He argues that the holding

announced in Crawford v. Washington, 541 U.S. 36 (2004), makes the statements at

issue inadmissible because those statements were not tested “in the crucible of cross-

examination.” Id. at 61.

      The Confrontation Clause provides that “[i]n all criminal prosecutions, the

accused shall enjoy the right . . . to be confronted with the witnesses against him.”

U.S. Const. amend. VI. Crawford overruled precedent that allowed the admission of

out-of-court statements assessed as reliable under Ohio v. Roberts, 448 U.S. 56


                                         -4-
   Case 1:05-cr-00008-JPJ-PMS        Document 115      Filed 01/07/07   Page 5 of 13
                                     Pageid#: 328



(1980), and instead requires such statements to be subject to cross-examination if they

are deemed “testimonial” in nature. In particular, where the governments seeks to

admit an out-of-court statement that is testimonial, it must establish that the declarant

is unavailable and that the defendant had a prior opportunity to cross-examine the

declarant.

      I find that the statements made by Pope to Agent Snedeker were not testimonial

in nature. The Supreme Court has not given an exhaustive definition of testimonial

hearsay. The Court has defined it at least as “ex parte in-court testimony or its

functional equivalent—that is, material such as affidavits, custodial examinations,

prior testimony that the defendant was unable to cross-examine or similar pre-trial

statements that declarants would reasonably expect to be used prosecutorially.”

Crawford, 541 U.S. at 51 (internal quotations omitted). It is also defined as

“statements that were made under circumstances which would lead an objective

witness reasonably to believe that the statement would be available for use at a later

trial.” Id. at 52 (internal quotations omitted). Statements elicited from interrogations

by law enforcement officers fall squarely within the class of testimonial hearsay

Crawford addressed. See Davis v. Washington, 126 S. Ct. 2266, 2278 (2006). An

interrogation is testimonial when it is conducted primarily to establish or prove some

past fact potentially relevant to a later prosecution. Id.


                                           -5-
   Case 1:05-cr-00008-JPJ-PMS          Document 115        Filed 01/07/07     Page 6 of 13
                                       Pageid#: 329



       If the statements at issue were elicited from an interrogation conducted by

Agent Snedeker in order to establish or prove past facts relevant to a criminal

prosecution, there is no doubt that such statements would be considered testimonial

for purposes of Crawford. An interrogation is defined as the “formal or systematic

questioning of a person; especially intensive questioning by the police, usually of a

person arrested for or suspected of committing a crime.” Black’s Law Dictionary

1485 (7th ed. 1999). Although Pope’s statements that “his guy” would be supplying

the drugs were elicited by questions posed by Agent Snedeker, a government agent,

these statements were not the result of an interrogation and therefore are not

testimonial.3

       The Supreme Court has not formulated a bright-line test for determining when

an out-of-court statement should be considered testimonial because that statement

resulted from a police interrogation. However, the Court has considered three factors

in determining whether a statement is testimonial: first, the formal or systematic


       3
         In Crawford, the Court stated that it used the term “interrogation” in its “colloquial,
rather than any technical legal sense” and noted there were various definitions for
“interrogation.” 541 U.S. at 53 n.4. Although the Court refused to adopt a formulaic
definition of “interrogation” for Confrontation Clause purposes, it held that a statement
“knowingly given in response to structured police questioning, qualifies under any
conceivable definition.” Id. In this case, regardless of the definition ultimately embraced by
the Court, the casual nature of the questions asked and circumstances under which the
responses were given shows that this questioning falls well outside any reasonable definition
of interrogation.

                                              -6-
   Case 1:05-cr-00008-JPJ-PMS        Document 115       Filed 01/07/07    Page 7 of 13
                                     Pageid#: 330



nature of the questioning, Crawford, 541 U.S. at 52-54; second, the objective belief

of the declarant as to whether the statement could be used in a future court proceeding,

id. at 51; and finally, the government agent’s primary purpose in conducting any

questioning of the declarant, Davis, 126 S. Ct. at 2278.

      Here, Pope’s out-of-court statements were made in a highly informal

setting—over a cell phone.4 Nothing in the record indicates that the incriminating

statements resulted from a level of questioning so formal, systematic, or intensive as

to be considered an interrogation.

      Furthermore, the declarant, Pope, had no expectation or any objective reason

to believe his statements would be used in a future court proceeding by the

government. He had no indication he was speaking to a government agent and

believed he was taking part in a conversation necessary to facilitate a drug transaction.

At all times during the conversation, Agent Snedeker presented himself as a buyer

seeking to purchase crack cocaine.

      Finally, any questioning conducted by the undercover agent was not done in a

manner to prove or establish past facts or conduct. Rather, the basic purpose of the


      4
          In Crawford, Justice Scalia wrote that “Testimony, . . . is typically [a] solemn
declaration or affirmation made for the purpose of establishing or proving some fact. An
accuser who makes a formal statement to government officers bears testimony in a sense that
a person who makes a casual remark to an acquaintance does not.” 541 U.S. at 51 (internal
quotations and citation omitted).

                                            -7-
   Case 1:05-cr-00008-JPJ-PMS         Document 115       Filed 01/07/07    Page 8 of 13
                                      Pageid#: 331



conversation was to negotiate the terms and conditions of a future drug buy. Agent

Snedeker and Pope discussed in detail the location of the drug buy, the price, the

quantity, and the availability of drugs for future purchase.

       Considering these factors, the statements made by Pope to Agent Snedeker were

not testimonial in nature. Therefore, it is immaterial whether the declarant was

unavailable or whether the defendant had an adequate opportunity to cross examine

the declarant.

       Furthermore, the statements made by Pope to Agent Snedeker fall outside the

long-understood definition of hearsay. See Fed. R. Evid. 801(d)(2)(E) (“A statement

is not hearsay if . . . [ it is ] a statement by a coconspirator of a party during the course

and in furtherance of the conspiracy.”). The Supreme Court has held that co-

conspirator statements do not fall within the ambit of the Confrontation Clause, and

Crawford did not specifically foreclose the admissibility of such statements. See

Bourjaily v. United States, 483 U.S. 171, 181 (1987) (admitting statements made

unwittingly by a co-conspirator to a government informant and rejecting “any

suggestion that admission of these statements against petitioner violated his rights

under the Confrontation Clause”); United States v. Inadi, 475 U.S. 387, 391 (1986)

(holding that the Confrontation Clause does not require a showing of unavailability




                                             -8-
   Case 1:05-cr-00008-JPJ-PMS        Document 115      Filed 01/07/07   Page 9 of 13
                                     Pageid#: 332



as a condition precedent to the admission of the out-of-court statements of a non-

testifying co-conspirator).

      There is no indication in Crawford that the Court intended to overrule its

precedent regarding the admissibility of co-conspirator statements. Any ambiguity

regarding the admissibility of co-conspirator statements in the wake of Crawford has

been firmly resolved by the Fourth Circuit. See United States v. Sullivan, 455 F.3d

248, 258 (4th Cir. 2006) (holding statements by co-conspirator non-testimonial and

thus admissible); see also United States v. Canady, 139 Fed. Appx. 499, 501 (4th Cir.

2005) (unpublished) (“The statements at issue here were not testimonial, even under

the broadest interpretation of that term, as [the co-conspirator] clearly did not realize

that his statements to the informant were going to be used against him at trial.”).

Other circuits that have addressed the issue have reached the same conclusion. See

United States v. Larson, 460 F.3d 1200,1213 (9th Cir. 2006); United States v. Arriola-

Perez, 137 Fed. Appx. 119, 130 n.8 (10th Cir. 2005) (unpublished); United States v.

Jenkins, 419 F.3d 614, 618 (7th Cir. 2005); United States v. Robinson, 367 F.3d 278,

290 n.20 (5th Cir. 2004); United States v. Reyes, 362 F.3d 536, 541 n.4 (8th Cir.

2004).

      As a co-conspirator, Pope’s out-of-court statements do not implicate the

Confrontation Clause’s strict requirements of unavailability and prior opportunity to


                                           -9-
  Case 1:05-cr-00008-JPJ-PMS          Document 115       Filed 01/07/07     Page 10 of 13
                                       Pageid#: 333



cross-examine. The admission of these statements comport fully with the requirements

of the Confrontation Clause as articulated in Crawford.



                                             III

       The defendant also argues that even if the statements are admissible under the

Confrontation Clause they do not meet the requirements for admission under Federal

Rule of Evidence 801(d)(2)(E). In particular, the defendant argues that there was

insufficient evidence to show he and Pope were co-conspirators, and that the

statements at issue were not made in furtherance of a conspiracy.5

       In order to introduce statements by a co-conspirator, the government is required

to prove by a preponderance of the evidence the necessary requirements for

admissibility. Bourjaily, 483 U.S. at 176. The court may conditionally admit

purported statements of a co-conspirator, subject to the government’s later proof.

United States v. Blevins, 960 F.2d 1252, 1256 (4th Cir. 1992).




       5
         These arguments were not made in the timely Motion for New Trial, but raised later
in the defendant’s brief in support of the motion, filed after the time permitted for a motion
for a new trial under Federal Rule of Criminal Procedure 33. Accordingly, it may be argued
that they are untimely. However, the government has not objected and it is settled that the
time limits for a motion for a new trial under Rule 33 grounded on a reason other than newly
discovered evidence are not jurisdictional. Eberhart v. United States, 126 S. Ct. 403, 407
(2005).


                                            -10-
  Case 1:05-cr-00008-JPJ-PMS          Document 115      Filed 01/07/07     Page 11 of 13
                                       Pageid#: 334



       I hold that the government did establish by a preponderance of the evidence

that a conspiracy involving Pope and the defendant existed. Pope stated that “his guy”

would be obtaining the crack cocaine. The defendant was found at the same location

where Pope and Agent Snedeker arranged for the transaction to occur. Furthermore,

the defendant was found in the same vehicle as Pope and the crack cocaine.

       The evidence also showed that the defendant was seated by himself in the back

seat of the vehicle. When authorities approached the vehicle and demanded that

everyone place their hands in the air, the driver and front seat passenger immediately

complied with the order. However, the evidence shows the defendant concealed his

hands and leaned toward the area where crack cocaine was later found. This evidence

coupled with the specificity of the statements made by Pope provided a sufficient

basis to conclude a conspiracy existed between the defendant and Pope. See

Bourjaily, 483 U.S. at 174.6

       In addition to showing that the defendant was a member of the conspiracy, the

government must establish that the statements at issue were made in order to further

the purposes of the conspiracy. See United States v. Pratt, 239 F.3d 640, 643 (4th


       6
          In Bourjaily, a statement similar to the ones at issue in this case was admitted
against a co-defendant. The declarant, a co-conspirator of the defendant, noted that he would
be assisted in a drug transaction by his “friend.” This statement was introduced against the
defendant who was arrested along with the declarant at the scene of the drug transaction. 483
U.S. at 174-75.

                                            -11-
  Case 1:05-cr-00008-JPJ-PMS        Document 115      Filed 01/07/07    Page 12 of 13
                                     Pageid#: 335



Cir. 2001). “A statement by a co-conspirator is made ‘in furtherance’ of a conspiracy

if it was intended to promote the conspiracy’s objectives, whether or not it actually has

that effect.” United States v. Shores, 33 F.3d 438, 443 (4th Cir. 1994). “Idle

conversation that touches on, but does not further, the purposes of the conspiracy does

not constitute a statement in furtherance of a conspiracy under Rule 801(d)(2)(E).”

Pratt, 239 F.3d at 643 (citing United States v. Urbanik, 801 F.2d 692, 698 (4th Cir.

1986)).

      Applying these principles to the facts of this case, it is clear that the challenged

statements were made in order to further the purposes of the conspiracy. The evidence

supports the conclusion that the defendant and Pope conspired to distribute crack

cocaine. The phone conversation between Agent Snedeker and Pope dealt with more

than simply the general topic of crack cocaine. Though initiated by Poindexter, the

confidential informant, the conversation was undertaken by Pope to further the

primary objective of the conspiracy—distribution of crack cocaine. In particular,

Pope negotiated the quantity of crack cocaine to be purchased, the location and time

of the transaction, the price, and the availability of drugs for future purchase. He also

indicated that “his guy” would play a critical part in the transaction by procuring and

supplying the requested drugs.




                                          -12-
  Case 1:05-cr-00008-JPJ-PMS       Document 115         Filed 01/07/07   Page 13 of 13
                                    Pageid#: 336



      Although the statements were made to a government agent, a non-member of

the conspiracy, the statements were designed to induce him to act in a manner that

would have assisted in the accomplishment of the conspiracy’s objectives. See United

States v. Smith, 441 F.3d 254, 262 (4th Cir. 2006). The phone conversation was

conducted by Pope solely to accomplish a drug sale—the ultimate purpose of any

conspiracy to distribute drugs. The statements made by Pope were thus properly

admitted at trial against the defendant.



                                           IV

      For the reasons stated, it is ORDERED that the defendant’s Motion for New

Trial is DENIED.

                                                  ENTER: January 7, 2007

                                                  /s/ JAMES P. JONES
                                                  Chief United States District Judge




                                           -13-
